USDC IN/ND case 3:23-cv-00691-DRL-SJF                document 40        filed 04/09/25       page 1 of 2



                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   SOUTH BEND DIVISION

   RONNI MARKS,                                  )
                                                 )
                         Plaintiff,              )
                                                 )
   v.                                            )       Case No. 3:23-cv-00691 (DRL)(SJF)
                                                 )
   SKYWEST AIRLINES and JASON                    )
   ALEXANDER, in his individual                  )
   and professional capacities,                  )
                                                 )
                         Defendants.             )


                                       NOTICE OF MOTION
        PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law, the

 Declaration of Brooke Payton and enclosed exhibits attached hereto, dated April 9, 2025,

 Plaintiff Ronni Marks, by and through her undersigned counsel, will move this Court at the

 United States District Court for the Northern District of Indiana, South Bend Division, located at

 204 South Main Street, South Bend, Indiana 46601 before the Honorable Damon R. Leichty, to

 respectfully request an order pursuant to Federal Rule of Civil Procedure Rule 37(a)(3)(B)(iii-

 iv), granting Plaintiff’s Motion to Compel Discovery and granting such other, further, and

 different relief as this Court deems just and proper.
USDC IN/ND case 3:23-cv-00691-DRL-SJF   document 40     filed 04/09/25   page 2 of 2


 Dated: April 9, 2025
        New York, New York               Respectfully submitted,

                                         WIGDOR LLP


                                         By: ____________________________
                                                Brooke Payton (pro hac vice)
                                                Michael J. Willemin (pro hac vice)
                                                Molly Zhu (pro hac vice pending)

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                                         Counsel for Plaintiff
